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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  BRANDON LEIDEL, individually,                                 CASE NO. 9:16-cv-80060-KAM
  And on behalf of All others Similarly Situated,

                 Plaintiffs,
  v.

  PROJECT INVESTORS, INC. d/b/a
  CRYPTSY, a Florida corporation, and
  PAUL VERNON, an individual,

              Defendants.
  ________________________________________/

                 ORDER GRANTING NORTH FIELD TECHNOLOGY’S
              MOTION FOR AN ORDER TO SHOW CAUSE WHY CONTEMPT
              SANCTIONS SHOULD NOT BE IMPOSED AGAINST BINANCE

         THIS MATTER is before the Court with the consent of Plaintiff Brandon Leidel,

  individually and on behalf of all other similarly situated members of the Certified Class (“Plaintiff

  Class”), and upon the motion of North Field Technology (“North Field”), which is the assignee

  under the Assignment Agreement [ECF No. 139-1]. BY ITS MOTION, North Field moves the

  Court for entry of an order to show cause why contempt sanctions should not be imposed against

  Binance Holdings Limited (“Binance”) for its willful violation of the Order for Asset Freeze

  Injunction and to Transfer the Stolen Bitcoin to Assignee [ECF No. 177] (“Permanent Injunction”).

         HAVING REVIEWED THE MOTION AND SUPPORTING PAPERS and being

  otherwise fully advised in the premises, the Court hereby ORDERS AND ADJUDGES:

         1.      The motion is GRANTED.

         2.      Binance shall appear before this Court on August 25, 2023 at 1:30 p.m. (the

  “Hearing Date”) in Courtroom 4, Paul G. Rogers Federal Building and Courthouse, 701 Clematis

  Street, West Palm Beach, Florida 33401and show good cause why Binance should not be held in
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  contempt and why sanctions should not be imposed for its willful disregard of this Court’s

  Permanent Injunction.

         3.       The Court directs that service of a copy of this Order, together with the papers upon

  which it was granted, be made by international mail to Binance Holdings Limited at its registered

  corporate address, Governors Square Ste 5-204 23 Lime Tree Bay Avenue, PO Box 2547, Grand

  Cayman, Cayman Islands KY1-1104, and that such service shall be deemed good and sufficient

  service upon Respondent Binance. The Court also directs that service of a copy of this Order,

  together with the papers upon which it was granted, be made by certified mail with return receipt

  to counsel for Binance, Karen King of Morvillo Abramowitz Grand Lason & Anello PC at the

  firm’s New York office address, 565 Fifth Avenue, New York, NY 10017, as additional indicia of

  notice and an opportunity to be heard being provided to Binance.

         4.       Opposition papers to this motion, if any, shall be filed by Respondent twenty-one

  (21) days prior to the Hearing Date.

         5.       Reply papers, if any, shall be filed by Petitioner with the Court and served on

  Respondent pursuant to the form of notice prescribed in Paragraph 3 seven (7) days prior to the

  Hearing Date.

         DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida

  this 7th day of July, 2023.




                                                                KENNETH A. MARRA
                                                                United States District Judge




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